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IN THE UNITED sTATEs DISTRICT coURT 95 nn \5 PH 2:15
FoR THE wEsTERN DISTRICT oF TENNESSEE
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uNITED AuTo GRoUP, INc.,
Plaintiff,

vs. No. 04-2802 nLP

ADAM EwING and ANDREW BARBEE,

Defendants.

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ORDER GRANTING IN PART PLAINTIFF'S MOTION
TO COMPEL DEFEND.AN‘I‘S' DEPOSITION

 

Before the court is Plaintiff United Auto Group's Motion to
Compel Defendants’ Deposition, filed March 3, 2005 (dkt #46).
Defendants Adam Ewing and Andrew Barbee filed a response on March
17, 2005. All parties participated in a motion hearing on April 6,
2005. At that hearing, the court requested that the parties file
supplemental briefs. The plaintiff and defendants filed
supplemental briefs on April 15 and April 25, respectively. For
the following reasons, the motion to compel is GRANTED in part.

I . BACKGROUN.'D

This is one of three cases involving United Auto Group (“UAG”)
and Adam Ewing and Andrew Barbee. Defendants Ewing and Barbee are
former employees of Covington Pike Toyota, a car dealership located

in Memphis, Tennessee and owned by UAG. Ewing and Barbee were

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wéth Rule 58 and!or 79(a) FHCP on g

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formerly plaintiffs in an employment discrimination case filed in
this district, styled Alexander v. United Auto Grouo, No. 01~2096

(W.D. Tenn. filed Feb. 5, 2001). The Alexander case settled prior

 

to trial, and as part of the settlement agreement, Ewing and Barbee
agreed not to do or say anything that would hurt or prejudice UAG's
reputation or goodwill.

After the settlement in Alexander, Ewing and Barbee agreed to
serve as paid expert witnesses in a consumer fraud class action,
styled James v. United .Auto Group, No. 01-1122-1 (Shelby' Co.
Chancery Ct.), which is currently pending in Tennessee state court.

Their testimony in James apparently relates to the business

 

practices of UAG. Additionally, Defendants participated in
interviews on the investigative television show 60 Minutes and
answered questions regarding their interaction with.consumers while
they were employees of the car dealership. In this present
lawsuit, UAG alleges Defendants violated their settlement agreement
in Alexander by testifying as expert witnesses in games and
appearing on 60 Minutes.

In the present motion to compel, UAG seeks an order requiring
Defendants to appear for their depositions and to answer, among
other things, questions related to their testimony and work as

witnesses in the James case. UAG noticed their deposition for

 

February 22 and 23, 2005, but it was cancelled shortly before the

noticed date. Defendants, generally, do not oppose being deposed,

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but they argue that questions relating to their testimony in gam§§,
including conversations and documents shared with their attorney
James Andrews, are protected by the attorney-client privilege. the
common interest privilege, and the work product doctrine.
Defendants' privilege and work product arguments stem from
Andrews's representation of Defendants as witnesses in the games
case. Andrews represents the class of plaintiffs in games and
served as counsel for Ewing and Barbee on the issue of whether
their testimony would violate the settlement agreement.1 They
argue that any communications between Defendants and Andrews in
connection with the games case is protected by privilege. In

support of this contention, Defendants rely on the James court's

 

order denying a motion filed by the James defendants to compel

 

Ewing and Barbee to answer questions at their depositions and
questions asked during a May 7, 2003 hearing in state court. The
court determined that Defendants had an attorney-client privilege
with attorney Andrews, and that “information conveyed to
Plaintiff's Counsel regarding Defendants’ business practices is
privileged and confidential.” (See James v. United Auto Group et
alg, CH-00-1934-I (Shelby County Chancery Court)(Order Denying
Defendants' Motion to Compel filed May 12, 2003). Defendants

assert that this state court decision is governed by the Full Faith

 

lEwing and Barbee were represented by another attorney in
the Alexander case.

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and Credit Act, 28 U.S.C. § 1738, and that the games court’s
decision must be given preclusive effect in this federal action.2

UAG contends, however, that the Full Faith and Credit Act is
inapplicable for several reasons. First, it argues that the scope
of permissible areas of testimony in the gamgs, case was not
“material” to the ultimate issues in that case. Second, UAG

suggests that the James court intended only to protect Defendants'

 

rights to testify pursuant to a subpoena, and that the court’s
decision in no way barred UAG from pursuing a claim against Ewing
and Barbee based on their decision to testify in the games
litigation. Third, UAG claims that it did not have a fair and full
opportunity to litigate Defendants' breach of settlement agreement
claim in the games case. Finally, UAG maintains that Defendants'
designation as expert witnesses after the order on the motion to
compel effectively superseded the state court's May 12 order.
II. ANALYSIS

A. Full Faith and Credit Act 28 U.S.C. § 1738

28 U.S.C. § 1738 governs the application of the doctrines of
res judicata and collateral estoppel. The statute provides that
“judicial proceedings [of any court of any State] shall have the
same full faith and credit in every court within the United States

and its Territories and Possessions as they have by law or usage in

 

2Defense counsel cited this statute at the April 5 hearing,
but made no mention of it in the response to the motion to compel
or in its supplemental brief filed with the court.

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courts of such State, Territory or Possession from which they are
taken.” 28 U.S.C. § 1738. Generally, when considering whether the
judgment of a state court will have either type of preclusive
effect on a subsequent action brought in federal court, the Full
Faith and Credit Act requires the federal court to give the prior
adjudication the same preclusive effect it would have under the law
of the state whose court issued the judgement. See Miqra v. Warren
City School Dist. Bd. of Educ., 465 U.S. 75, 81 (1984); Allen v.
McCurry, 449 U.S. 90, 96 (1980); see also Heyliger v. State Univ.
and Communitv College Svstem of Tenn., 126 F.3d 849, 851-52 (6th
cir. 1997).

Claim preclusion, or res judicata, bars a second action when
the same parties have previously litigated the same claim to a
final judgment on the merits in the first proceeding. Hutcherson
v. Lauderdale Countv, 326 F.3d 747, 758 (6th Cir. 2003) (outlining
four elements under Tennessee law that must be established for res
judicata); Drummond v. Comm'r of Soc. Sec., 126 F.3d 837, 840 (6th
Cir. 1997); ShelleV V. GiDsOn, 400 S.W.Zd 709, 714 (Tel'lrl. 1966).
Issue preclusion, or collateral estoppel, bars relitigation of an
issue of fact or law which was actually litigated in the former
suit and which was necessary to the judgment, in a suit on a
different cause of action involving the same parties or their
privies. Drummond, 126 F.3d at 840; Shelley, 400 S.W.2d at 714.

Because the parties in the present case are different from

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those in the James case, and there has not been a final judgment on

 

the merits in James, claim preclusion does not apply. See
Drummond, 126 F.3d at 840; Shelley, 400 S.W.2d at 714. With
respect to issue preclusion, in deciding what if any preclusive

effect this court must give to the James court's May 12, 2003

 

order, this court looks to Tennessee law. Tennessee law provides
that once an issue has been determined by a court of competent
jurisdiction, the doctrine of collateral estoppel renders that
determination conclusive on the parties in subsequent litigation,
even when the claims or causes of action are different. §§§ Gibson
v. Trant, 58 S.W.Bd 103, 113 (Tenn. 2001); Beaty v. McGraw, 15
S.W.3d 819, 824 (Tenn. Ct. App. 1998).

In order for the Tennessee doctrine of collateral estoppel to
apply, the defendants must demonstrate that (1) the factual or
legal issue sought to be precluded is identical to the issue
decided in the earlier suit; (2) the issue sought to be precluded
was actually litigated and decided on its merits in the earlier
suit; (3) the judgment in the earlier suit has become final; (4)
the party against whom collateral estoppel is asserted was either
a party or is in privity with a party to the earlier suit; and (5)
the party against whom collateral estoppel is asserted had a full
and fair opportunity in the earlier suit to litigate the issue now
sought to be precluded. §§a;y, 15 S.W.3d at 824-25. The party

asserting the collateral estoppel doctrine has the burden of

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establishing these elements. §§a;y, 15 S.W.3d at 824; Dickerson v.
Godfrey, 825 S.W.2d 692, 695 (Tenn. 1992).

This court finds that Defendants Ewing and Barbee have failed
to meet their burden of establishing that the factual or legal
issue sought to be precluded in the present case is identical to
the issue decided in game§.s By merely relying on the Chancellor's
ruling in gam§s, the Defendants have not demonstrated that the
state court addressed the identical issue that is now presented to
this court. In his order, the Chancellor stated, “information
which [Ewing and Barbee] had communicated to {Andrews] regarding,
inter alia, [UAG’s] business practices while they were employed at
Covington Pike Toyota” was “privileged and confidential.” (5/12/03
Order). The court apparently based its ruling on the fact that
Andrews represented Ewing and Barbee as witnesses - but the court's
order provides no further details than that. It is far from clear
what privilege issues were presented to the state court, what areas

of inquiry were before that court, and what the bases were for that

 

3UAG also contends that collateral estoppel is not
applicable in this case because case law requires the prior
decision to be necessary and material to that court's decision.
The cases cited by UAG, however, focus on the earlier decisions'
use of dicta. §§§ Dickerson, 825 S.W.2d at 695; Marlene Indus.
Corp. v. NLRB, 712 F.2d lOll, 1016 (6th Cir. 1983) (“The
determination of an issue in an earlier proceeding must be
essential to the judgment, it cannot be dicta.”); Heyliger v.
State Univ. & Cmtv. Coll. Svs. of Tenn., 126 F.3d 849, 853 (6th
Cir. 1997); see also Shellev v. Gipson, 400 S.W.2d 709, 714
(Tenn. 1966). The James court expressly made a finding of
privilege, and the ruling was certainly not dicta.

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court's conclusions. Therefore, because the Defendants carry the
burden of establishing all elements of collateral estoppel, their
failure to meet that burden requires this court to conclude that
the doctrine does not apply.

Moreover, it appears that there has not yet been a final
judgment in the state case. “In Tennessee, a judgment is final
‘when it decides and disposes of the whole merits of the case
leaving nothing for the further judgment of the court.’” Richardson
v. Tennessee Bd. of Dentistrv, 913 S.W.2d 446, 460 (Tenn.
1995)(quoting Saunders v. Metro. Gov't of Nashville & Davidson
County, 383 S.W.2d 28, 31 (1964)). Therefore, the Defendants Full
Faith and Credit argument fails on this basis as well.

B. Attorney-Client Privilege

In diversity cases such as this, the limits of any privilege
must be “determined in accordance with state law.” Fed. R. Evid.
501. The person claiming attorney-client privilege has the burden
of establishing the existence of the privilege. §i_}g§gr_l___y_L
Richardson, No. 2002-3027, 2003 WL 135054, at *3 (Tenn. Ct. App.

Jan. 17, 2003)(unpublished) (citing Hawkins v. Hart, 1998 WL

 

272926, at *9 `(Tenn. ct. App. May 29, 1998)(unpublishea)). In
Tennessee, the privilege is established by the following factors:

(1) the asserted holder of the privilege is or sought to
become a client; (2) the person to whom the communication
was made (a) is a member of the bar of a court, or his
subordinate and (b) in connection with this communication
is acting as a lawyer; (3) the communication relates to
a fact of which the attorney was informed (a) by his

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client (b) without the presence of strangers (c) for the

purpose of securing primarily either (i) an opinion on

law or (ii) legal services or (iii) assistance in some

legal proceeding, and not (d) for the purpose of

committing a crime or tort; and (4) the privilege has

been (a) claimed and (b) not waived by the client.
Humphrevs, Hutcheson & Moselev v. Donovan, 568 F.Supp. 161, 175
(M.D. Tenn. 1983)(construing Tenn. Code Ann. § 23-3-105). The
privilege encourages full and frank communications between
attorneys and their clients. Bovd v. Comdata Net., Inc., 88 S.W.3d
203, 212 (Tenn. Ct. App. 2002)(citing Unjohn Co. v. United States,
449 U.s. 383, 389 (1981)).

In determining whether the attorney-client privilege applies
in the present case, the court finds that Defendants Ewing and
Barbee’s relationship with attorney Andrews stems from (1) their
roles as clients seeking legal advice fron1 Andrews regarding
whether their involvement in the games case would violate their
settlement agreement in Al§;ander, and (2) their roles as witnesses
who provided Andrews with information about UAG to assist him in
preparing his case as plaintiffs' counsel. With respect to the
former situation, Defendants communicated with Andrews for the
purpose of obtaining legal advice about the possibility of
breaching their Alexander settlement agreement. In that context,

Defendants were Andrews's clients, and their communications with

Andrews would. be protected by' the attorney-client privilege.4

 

4UAG apparently does not dispute this position, and has
stated that it will not ask questions of Defendants regarding

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However, with respect to the latter situation, Andrews acts as

counsel for the class plaintiffs in James and Defendants, in their

 

capacities as witnesses, allegedly provided information to Andrews
to assist him in prosecuting the case. Communications between
Defendants Ewing and Barbee in that situation would not be
protected by the attorney-client privilege, since Defendants were
not communicating with Andrews in their capacities as “clients,”
but rather as witnesses. Protection of these communications would
not serve the purpose of encouraging full and frank communications
between an attorney and his or her client. Therefore, the
attorney-client privilege does not protect these communications.
C. The Common Interest Doctrine

Defendants also rely on the common interest doctrine, “which
expands the coverage of the attorney-client privilege where two or
more clients with a common interest in a matter are represented by
separate lawyers and agree to exchange information concerning the
matter." B§§Q_!;_§§§§§;, 134 F.3d 351, 357 (6th Cir. 1998). lt
serves as “an exception to the general rule that communications

made in the presence of or shared with third parties are not

protected by the attorney-client privilege.” Boyd, 88 S.W.3d at
213-14. Because the doctrine serves to limit discoverable

information, courts narrowly construe the doctrine. See Ferko v.

 

communications between Andrews and Defendants pertaining to
whether their testimony in James would breach their settlement
agreement.

 

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NASCARl InC., 219 F.R.D. 396, 402 (E.D. TeX. 2003).

In order for the common interest privilege to apply, the
parties to whom disclosure was made must have identical legal
interests. See Dexia Credit Local v. Roqan, No. 02-8288, 2004 WL
3119026, at *5 (N.D. Ill. Dec. 21, 2004)(unpublished); Libbey
Glass, Inc. v. Oneida, Ltd., 197 F.R.D. 342, 347 (N.D. Ohio 1999);
N. River Ins. Co. v. Columbia Cas. Co., No. 90-2518, 1995 WL 5792,
at *3 (S.D.N.Y. Jan. 5, 1995)(unpublished). Thus, it would apply
in the following relationships: co-defendants; insurer and insured;
and patentee and licensee. dee United States v. Mass. Inst. of

Tech., 129 F.3d 681, 685 & n. 4 (1st Cir. 1997)(collecting cases).

 

Although Defendants may have a “demonstrated history of opposing
the dealer reserve practice,” they do not share an identical legal

interest with the class plaintiffs in James. The class plaintiffs

 

are consumers, whereas Defendants are witnesses and former car
dealership employees. Thus, the common interest doctrine does not
apply to communications between Ewing and Barbee and attorney
Andrews.
D. Work Product

Finally, Defendants claim that communications and documents
shared with Andrews are protected by the work product doctrine.
Unlike the attorney-client privilege, the applicability of the work
product doctrine in diversity cases is governed by the federal

rules. See Fed. R. Civ. P. 26(b)(3); Roval Surplus Lines Ins. v.

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Sofamor Danek Group, 190 F.R.D. 463, 481 (W.D. Tenn. 1999)(citing
United Coal Cos. v. Powell Constr., 839 F.2d 958, 966 (3d Cir.
1988) ) .

Federal Rule of Civil Procedure 26(b)(3) protects against the
discovery of documents and tangible things made in the anticipation
of litigation by or for a party or by or for the party’s
representative unless the party seeking discovery demonstrates
substantial need for the materials and is unable to get the
information without undue hardship. The doctrine creates a zone of
privacy and protection for an attorney’s preparation of a case.
gee Hickman v. Taylor, 329 U.S. 495, 510-11 (1947).

It is unclear what, if any, documents exist that may be
protected by the work product doctrine. To the court's knowledge,
Defendants have not provided UAG with a privilege log for these
documents. Thus, to the extent Defendants claim documents are
protected work product, they are ordered to provide UAG with a
privilege log for these documents within fourteen (14) days from
the date of this order.

E. Sanctions

Finally, UAG has requested sanctions against the Defendants
due to their unilateral decision to not appear for their
depositions. Defendants do not dispute that their depositions
would cover many topics that have nothing to do with the issues

raised in this motion. The court concludes that, at ndnimum,

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Defendants certainly could have gone forward with their depositions
on other areas of inquiry, and could have at least answered
questions to establish a foundation for their assertions of
privilege without revealing the substance of communications.
Although the Defendants have stated that appearing for more than
one deposition would work a financial hardship on them, the court
finds that the need for discovery far outweighs any such purported
financial hardship to Defendants.

Although the court has serious concerns about Defendants'
conduct in failing to appear for their properly noticed
depositions, the court will DENY the request for sanctions at this
time. If, however, Defendants do not timely comply with this
order, the court will reconsider UAG's request.5

I I I . CONCLUSION

For the reasons above, UAG’s Motion to Compel Defendants'

Deposition is GRANTED in part. Defendants shall appear for their

depositions within thirty (30) days from the date of this order.

 

5Defendants have indicated that they may consider filing an
appeal of this court's order with the District Judge should the
court grant UAG's motion. Should Defendants file an appeal, they
are nevertheless required to appear for their depositions to
answer questions about matters unrelated to this motion.

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IT IS SO ORDERED.

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Tu M. PHAM ‘
United States Magistrate Judge

Tv\u l$`,, &»a®/

Date LJ

 

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